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                   UNITED STATES COURT OF APPEALS
                           FOR THE SECOND CIRCUIT



                              August Term, 2022

          Argued: March 20, 2023            Decided: December 08, 2023

                 Docket Nos. 22-2908, 22-2933, 22-2987, 22-3237



   IVAN ANTONYUK, COREY JOHNSON, ALFRED TERRILLE, JOSEPH MANN, LESLIE
                      LEMAN, LAWREN CE SLOANE,

                                        Plaintiffs-Appellees,

                                       v.

DOMINICK L. CHIUMENTO, in his official capacity as the Acting Superintendent of
  the New York State Police, MATTHEW J. DORAN, in his official capacity as the
Licensing Official of Onondaga County, JOSEPH CECILE, in his Official Capacity as
                         the Chief of Police of Syracuse,

                                        Defendan ts-Appellan ts,

KATHLEEN HOCHUL, in her official capacity as the Governor of the State of New
 York, WILLIAM FITZPATRICK, in his official capacity as the Onondaga County
  District Attorney, EUGENE CONWAY, in his official capacity as the Sheriff of
   Onondaga County, P. DAVID SOARES, in his official capacity as the District
  Attorney of Albany County, GREGORY OAKES, in his official capacity as the
District Attorney of Oswego County, DON HILTON, in his official capacity as the
  Sheriff of Oswego County, JOSEPH STANZIONE, in his official capacity as the
                      District Attorney of Greene County,

                                        Defendants.
          Case 22-2908, Document 422, 12/20/2023, 3599591, Page2 of 2




                                    ERRATA

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                              Gerard E. Lyn , Circuit Judge
                              Date: December 20, 2023
